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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


                                              )
In the Matter of the                          )
Federal Bureau of Prisons’ Execution          )
Protocol Cases,                               )
                                              )
LEAD CASE: Roane et al. v. Barr               )       Case No. 19-mc-145 (TSC)
                                              )
                                              )
THIS DOCUMENT RELATES TO:                     )
                                              )
Bourgeois v. U.S. Dep’t of Justice, et al.,   )
12-cv-0782                                    )
                                              )
Lee v. Barr, et al., 19-cv-2559               )
                                              )
Purkey v. Barr, et al., 19-cv-03214           )
                                              )


                          DEFENDANTS’ MOTION TO STAY
                     PRELIMINARY INJUNCTION PENDING APPEAL
       Pursuant to Federal Rule of Civil Procedure 62(c)(1) and consistent with Federal Rule of

Appellate Procedure 8(a)(1), Defendants respectfully move for a stay pending appeal of this

Court’s Order, issued on November 20, 2019, ECF No. 51, enjoining Defendants from proceeding

with the executions of Plaintiffs Daniel Lewis Lee, Wesley Ira Purkey, Alfred Bourgeois, and

Dustin Lee Honken, scheduled for December 9, 2019, December 13, 2019, January 13, 2020, and

January 15, 2020, respectively, until further order of this Court. In support of this motion,

Defendants attach the declaration of Rick Winter, which describes the harm to the Federal Bureau

of Prisons (“BOP”) and the stakeholders if the executions were to be postponed. In view of the

fact that the first execution date is rapidly approaching, Defendants request that this Court rule on

this motion by Friday, November 22, 2019. In any event, Defendants plan to seek relief in the

Court of Appeals on Monday, November 25, 2019.
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        Defendants recognize that this Court has determined that Plaintiffs meet the standard for

issuance of a preliminary injunction, which is the same standard that applies to this motion.

Federal Rule of Appellate Procedure 8(a)(1), however, requires Defendants to first move in this

Court for a stay of the injunction pending appeal before seeking a stay in the Court of Appeals.

Accordingly, for the reasons stated below and in Defendants’ opposition briefs to Plaintiffs’

motions for preliminary injunction, 1 Defendants respectfully request that the Court stay the

injunction pending appeal. 28 C.F.R. § 0.20(b); 28 U.S.C. § 2107(b).

                                   STANDARD OF REVIEW

        Federal Rule of Civil Procedure 62(c) provides in relevant part: “When an appeal is taken

from an interlocutory or final judgment granting . . . an injunction, the court in its discretion may

suspend . . . an injunction” during the pendency of the appeal. District courts considering a motion

for such a stay consider the same factors as those governing a motion for a preliminary injunction:

“(1) whether the stay applicant has made a strong showing that he is likely to succeed on the merits;

(2) whether the applicant will be irreparably injured absent a stay; (3) whether issuance of the stay

will substantially injure the other parties interested in the proceeding; and (4) where the public

interest lies.” Hilton v. Braunskill, 481 U.S. 770, 776 (1987). Before seeking a stay from the

Court of Appeals, a party must ordinarily move first in the District Court for an order suspending

an injunction pending appeal. Fed. R. App. P. 8(a).

                                          ARGUMENT

   I.      DEFENDANTS ARE LIKELY TO SUCCEED ON THE MERITS OF THEIR
           APPEAL OF THIS COURT’S INJUNCTION
        This Court held that the 2019 Protocol likely exceeds statutory authority because the

Federal Death Penalty Act (“FDPA”) expressly requires the federal government to implement


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     See Defs.’ Opp’n to Pl. Alfred Bourgeois’ Mot. for Prelm. Inj., ECF No. 6; Defs.’ Opp’n to
Pl. Daniel Lewis Lee’s Mot. for Prelm. Inj., ECF No. 16; Defs.’ Opp’n to Pl.-Intervenor Dustin
Lee Honken’s Mot. for a Prelim. Inj., ECF No. 36; Defs.’ Opp’n to Pl. Wesley Ira Purkey’s Mot.
for Prelim. Inj., ECF No. 37.


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executions in the manner prescribed by the state of conviction. Memorandum Opinion (“Op”)

(ECF No. 50) at 7. Citing the Merriam-Webster’s Collegiate Dictionary, this Court construed

“manner” to include not only the method of execution but also “all procedural details such as the

substance to be injected or the safeguards taken during the injection.” Id. at 8. In the Court’s

view, the 2019 Protocol conflicts with the FDPA because it does not require implementation of

“all [the] procedural details” of state execution protocols. Id.

       Defendants respectfully submit that they are likely to succeed on appeal of this Court’s

Order. First, the definition of “manner” as “a mode of procedure or way of action” cited by the

Court does not necessarily support the interpretation that “manner” means procedures. The Oxford

English Dictionary provides in addition to “a mode of procedure,” the definition of “a method of

action.” Manner, Oxford English Dictionary (3d. 2000). Under that definition, there would be no

conflict between the application of the 2019 Protocol and the FDPA as applied to Plaintiffs.

Indeed, Congress itself has long used the terms “method” and “manner” as synonyms in the context

of the death penalty. See, e.g., H.R. Rep. No. 75-164, at 1 (1937) (recommending that federal

government abandon “[t]he method of imposition of the death sentence imposed by Federal

courts”—at that time, “by hanging”—with “the manner of execution … prescribed by the laws of

the State”); H.R. Rep. 104–879 at 204 (1997) (“this bill proposes to clarify the method of execution

of Federal prisoners”). State statutes also frequently use the term “manner” to refer to the method

of execution. See, e.g., Mo. Ann. Stat. § 546.720 (“The manner of inflicting the punishment of

death shall be by the administration of lethal gas or by means of the administration of lethal

injection.”); Ohio Rev. Code Ann. § 2949.22 (“if the execution of a death sentence by lethal

injection has been determined to be unconstitutional, the death sentence shall be executed by using

any different manner of execution prescribed by law subsequent to the effective date of this

amendment”). States have also treated execution procedures as distinct from the method or manner

of execution. See, e.g., Idaho Code Ann. § 19-2716 (“The punishment of death shall be inflicted

by continuous, intravenous administration of a lethal quantity of a substance or substances

approved by the director of the Idaho department of correction until death is pronounced by a

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coroner or a deputy coroner. The director of the Idaho department of correction shall determine

the procedures to be used in any execution.”).

        Second, the Court’s interpretation is highly unlikely because it would require the federal

government to follow procedures in the nearly 30 distinct lethal execution protocols used by the

States. Congress could not have intended such a result. As Defendants have previously explained,

when Congress enacted the FDPA, at least a dozen states had already adopted lethal injection as a

method of execution with varying procedures. Defs.’ Opp’n to Honken’s PI Mot., ECF 36, at 39.

It is inconceivable that Congress intended the BOP to copy all of those procedures in spite of the

infinite number of variables—including the number and size of syringes, the length of IV tubing,

the IV insertion site, the rate of injection, the angle of the execution table, and the amount of saline

flush, among other things—and without regard to the BOP’s own assessment of the benefits or

disadvantages of any particular procedure. Presumably, the Court’s reading would also require

BOP to follow states execution procedures governing media access, witness selection, security and

command operations, and a whole host of other details.

        It is also inconceivable that Congress expected BOP to stock all lethal agents used by the

States; in fact, it is a practical impossibility for BOP to do so, given the scarcity of drugs for lethal

injections and States’ reluctance to share their limited supplies or the sources thereof. The Court

found that the FDPA already “contemplates and provides for this very situation: it permits the

United States Marshal to allow the assistance of a state or local official and to use state and local

facilities.” Op. at 9 (citing 18 U.S.C. § 3597(a)). But that provision merely authorizes the U.S.

Marshal to borrow state facilities and personnel if the Marshal deems it appropriate. It does not

foreclose the federal government from using its own facilities where a State is, for example,

unwilling to provide assistance, or where the federal government prefers to use its own buildings

and personnel. Nor does Section 3597 support the Court’s interpretation that the “manner of

execution” includes all aspects of a State’s execution protocol; to the contrary, it suggests that the

U.S. Marshal may choose not to use state facilities even when state law requires state executions

to take place at a certain location. It is also not clear why the federal government’s past history of

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borrowing state facilities for executions necessarily suggests that BOP now must also follow state

procedures, as the Court seems to suggest. See Op. at 10–11. Indeed, the Court’s reading would

lead to the anomalous result of allowing States to dictate the implementation of federal death

sentences. Because the Court’s construction would frustrate the statutory purpose—which is to

carry out death sentences—Defendants respectfully submit that they are likely to succeed on this

issue on appeal.

   II.      THE BALANCE OF HARMS WEIGHS IN FAVOR OF ENTRY OF A STAY
            OF THE PRELIMINARY INJUNCTION
         This Court held that the balance of harms weighs in favor of issuance of a preliminary
injunction. In particular, the Court held that the eight years the government waited to develop a

new protocol undermines the Government’s interest in carrying out lawful sentences of death.

Defendants respectfully disagree. The Supreme Court has repeatedly recognized the Government

and the victims’ compelling interest in the timely enforcement of a death sentence. See Calderon

v. Thompson, 523 U.S. 538, 556 (1998); Gomez v. U.S. Dist. Court for N. Dist. of Cal., 503 U.S.

653, 654 (1992); see also Bucklew v. Precythe, 139 S. Ct. 1112, 1134 (2019) (“The people of

Missouri, the surviving victims of [the condemned inmate’s] crimes, and others like them deserve

better. Even the principal dissent acknowledges that the long delays that now typically occur

between the time an offender is sentenced to death and his execution are excessive.”) (citation
omitted from parenthetical). This is particularly the case when the execution date is set and the

Government has mobilized its resources to carry out the lawful sentence.

         As Mr. Winter explains in his declaration, each execution requires significant advanced

planning and coordination, including the “activation of the execution team, which consists of over

40 BOP staff members,” Declaration of Rick Winter, dated November 21, 2019, (“Winter Decl.”)

¶ 5, the mobilization of approximately 200 BOP staff at the Federal Correctional Complex at Terre

Haute (“FCC Terre Haute”) to serve as institution security and support, id. ¶ 8, the synchronization

of the schedules of BOP contractors who must set aside their own personal and work related

matters for each execution, id. ¶ 6, the coordination of security measures with federal, state, and

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local law enforcement agencies, id. ¶ 7, the arrangement of travel and lodging for any victims’

family members who have committed to witnessing the execution, id. ¶ 11, as well as the

participation of approximately 50 additional BOP personnel from specialized teams, such as

Special Operations Response Teams and Disturbance Control Teams, who will need to travel to

FCC Terre Haute from other BOP institutions. These preparations cannot easily be undone; “[a]ny

adjustment to the execution dates would require significant planning and coordination such as that

which already has been undertaken by BOP to date.” Id. ¶ 12. Accordingly, beyond the

Government’s strong interest in proceeding with the criminal judgment, operational considerations

surrounding the planned executions lend further support in favor of a stay.

                                        CONCLUSION

       For the foregoing reasons, Defendants respectfully request that this Court stay its

injunction pending Defendants’ appeal of this Court’s November 20, 2019 Order enjoining

Defendants from proceeding with the execution of Plaintiffs.


Dated: November 21, 2019

Respectfully submitted,
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                                   CERTIFICATE OF SERVICE
       I hereby certify that on November 21, 2019, I caused a true and correct copy of foregoing to

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